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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   ROBERT WITT,
       Plaintiff,

       v.
                                                         Civil Action No. ELH-20-1249
   NOVARTIS PHARMACEUTICALS
   CORPORATION,
       Defendants.

                                            ORDER

       On May 19, 2020, plaintiff Robert Witt filed suit against defendant Novartis

Pharmaceuticals Corporation (“Novartis”). ECF 1 (the “Complaint”). On June 18, 2020, Novartis

moved to dismiss the action for failure to state a claim under Fed. R. Civ. P. 12(b)(6). ECF 6 (the

“Motion”).

       Then, on July 6, 2020, Witt filed an Amended Complaint against Novartis. ECF 15.

Novartis subsequently answered the Amended Complaint. ECF 18.

       The Amended Complaint supersedes the original Complaint. Because the Motion (ECF 6)

was directed to the Complaint, I shall deny the Motion as moot.

       It is so ORDERED this 16th day July, 2020.

                                                                           /s/
                                                            Ellen Lipton Hollander
                                                            United States District Judge
